                Case 1:20-cr-00288-MHC-AJB Document 5 Filed 07/31/20 Page 1 of 5
AO         98         (Rev.            12,11)                Appearance                               Bond               Page          1




                                   UNITED STATES DISTRICT COURTILED IN OPEN COURT
                                                                    for the U.S.D.C. Atlanta


     • [^ :. ^ I N Al_ Northern District of Georgia JUL 3 1 ')W\\
                 United States of America )
                               V.                          )             By:
                                                                        ) CaseNo.l:20-CR-288- ' deputy perk

  ANTONIO BROWN _ )        Defendant


                                                         APPEARANCE BOND

                                                         Defendant's Agreement

I, ANTONIO BROWN _(defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
            ( X ) to appear for court proceedings;
            ( X ) if convicted, to surrender to serve a sentence that the court may impose; or
            ( X ) to comply with all conditions set forth in the Order Setting Conditions of Release.


                                                               Type of Bond

( ) (1) This is a personal recognizance bond.

( X ) (2) This is an unsecured bond of $ 10.000 _

( ) (3) This is a secured bond of $_, secured by:

       ( ) (a) $ _, in cash deposited with the court.

       ( x ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
              (describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
              ownership and value):




                If this bond is secured by real property, documents to protect the secured interest may be filed of record.


       ( ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                  Forfeiture or Release of the Bond


Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.
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AO 98 (Rev. 12/11) Appearance Bond                                                                                       Page 2




                                                          Declarations


Ownership of the Property. I, the defendant - and each surety - declare under penalty of perjury that:

         (1) all owners of the property securing this appearance bond are included on the bond;
         (2) the property is not subject to claims, except as described above; and
         (3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
                   while this appearance bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond. I, the defendant - and each
surety - declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)
                                                                                .-^
                                                                                       i")
                                                                                      //L
                                                                            //^'L'7
Date: 7/31/2020                                                           i^//y^'i^^-
                                                                                             Defendant's signature




         (1) Surety/property owner — printed name                        (1) Surety/property owner— signature and date




         (1) Surety/property owner's address                             (1) Surety/property o-wner 's city/state/zip




         (2) Surety/property owner — printed name                        (2) Surety/property owner— signature and date




         (2) Surety/property owner's address                             (2) Surety/property owner's city/state/zip




         (3) Surety/property owner - printed name                        (3) Surety/property owner— signature and date




         (3) Surety/property owner's address                             (3) Surety/property owner's city/state/zip




                                                              CLERK OF COURT


Date:
                                                                               Signature of Clerk or Deputy Clerk

                                                         APPROVED

Date:^}!}^
                                                                     Alan J. Baverman, Jfnited States Magistrate Judge
                   Case 1:20-cr-00288-MHC-AJB Document 5 Filed 07/31/20 Page 3 of 5
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                              Page 1 of 0 Pages

                                                                                                     FllEDmPEN COURT
                                                                                                       U.S.D.C. Atlanta


                                        UNITED STATES'DISTRICT COURT                                   JUL 3 1 2020
                                                                  for the

                                                       Northern District of Georgia
                                                                                                                   Deputy Clerk


                    United States of America
                                   V.

                                                                              Case No. l:20-cr-288
                       ANTONIO BROWN
                               Defendant


                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.


(2) The defendant must cooperate in the collection ofaDNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.


(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.


      The defendant must appear at:
                                                                                      Place




      on
                                                                    Date and Time


      If blank, defendant will be notified of next appearance.


(5) The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/11) Additional Conditions of Release Page 2 of 3 Pages

                                                     ADDITIONAL CONDITIONS OF RELEASE

      IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:


( ) (6) The defendant is placed in the custody of:
                Person or organization
                Address (only if above is an
                organization)

                City and state_ Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian's custody.


                                                                          Signed:
                                                                                                     Custodian Date
( x) (7) The defendant must:
                    submit to supervision by, report for supervision to , and follow all instructions of
      ( x ) (a) ( x) U.S. Pretrial Services () U.S. Probation Office
                     telephone number 404-215-1950 _, () No later than_Of Before leaving courthouse, or
      ( x ) (b) mamtain or actively seek lawful and verifiable employment, unless as Jimit^d'below.
      ( ) (c) continue or stan an education program. ^ V1'./V\0<V\ TkMl'^0
      ( x ) (d) surrender any passport to your supervising officer by :^V^VVJ* ' lancfdd not obtain nor possess a passport, passport card, visa, or other
      international travel document, not obtain or possess a passport or oth'er international travel document in your name, another name or on behalf of a third
      party, including minor children, at any time while this order is in effect.
      (x) (e) abide by the following restrictions on personal association, residence, or travel: Reside at address provided to Pretrial Services
                     and do not change your address or telephone number w/o written PTS pre- approval
      ( x ) (f) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                    including, but not limited to, the following: any and all co-defendants and/or unindicted co-conspirators


      (y<J (S) get medical or psychiatric treatment: J^ as directed by your supervising officers ( )


      ( ) (h) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                    necessary.
      ( x ) (i) not possess a firearm, destructive device, other weapon, or ammunition, in your home, vehicle or place of employment, or upon your
                    person.
      ( x) (j) not use alcohol () at all p^ excessively.
      ( x ) (k) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless lawfully prescribed by a
                    licensed medical practitioner.
      ( ) (1) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
                    frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                    substance screening or testing. The defendant must not obstruct, attempt to obstmct, or tamper with the efficiency and accuracy of prohibited
                    substance screening or testing.

      ( ) (m) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                    supervising officer.
      () (n) participate in one of the following location restriction programs and comply with its requirements as directed.
                    ( ) (i) Curfew. You are restricted to your residence every day ( ) from_to_, or () as
                             directed by the pretrial services office or supervising officer; or
                    () (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                 substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                                 approved in advance by the pretrial services office or supervising officer; or
                    ( ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                               court appearances or other activities specifically approved by the court.
      ( ) (o) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                    requirements and instructions provided. The Court leaves the specific form of location monitoring to your supervising officer's
                    discretion, unless otherwise noted.
                    ( ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                          supervising officer.

      ( x ) (p) report within 72 hours to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                    arrests, questioning, or traffic stops.
      ( x ) (p) restrict travel to the Northern District of Georgia unless the ^jpervisiqg officer has approved travel in advance. ,^._ •
       (X) (r) I>6 n»^" Ope/\ »\tA) \\r\ei o-f cre^Y\ ^|s> pf((\ p<inwi^(»>^ if PT<> ^<^)^
      ( ) (s)
      ( ) (t)
                    Case 1:20-cr-00288-MHC-AJB Document 5 Filed 07/31/20 Page 5 of 5
-^AO 199C (Rev. 1 2/03) Advice of Penalties.. . Page 3 of 3 Pages

                                                   Advice of Penalties and Sanctions

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

         Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in a separate
term of imprisonment, a fine, or both.
         While on release, if you commit a federal felony offense, the punishment is an additional prison term of not more than ten
years; if you commit a federal misdemeanor offense, the punishment is an additional prison term of not more than one year. This sentence
will be consecutive (i.e., in addition to) any other sentence you receive.
        It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to: obstruct a criminal
investigation; tamper with a witness, victim or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or
officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or
attempted killing.
         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
      (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
           not more than $250,000 or imprisoned for not more than 10 years, or both;
      (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
             more than $250,000 or unprisoned for not more than five years, or both;
       (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, orboth;
       (4) a misdemeanor, you shall be fined not more than $100,000 or unprisoned not more than one year, orboth.
       A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.


                                                     Acknowledgment of Defendant

        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth
above.




                                                                                                  Signature of Defendant

                                                                                ;OD (^ ^ ^ ^tfl O/ /^S^C ^ ^0.^ ^
                                                                                                         Address

                                                                               MfuJ^C^ ~)53^ fW^o-^^^
                                                                                   City State Zip Code Telephone



                                                 Directions to United States Marshal

( v ) The defendant is ORDERED released after processing.
( •) The United States marshal is ORDERED to keep the defendant m custody until notified by the clerk or judge that the defendant
       has posted bond and/or complied with all other conditions for release. If still (n^ustgdy, the defendant must be produced before

           !-^T,ipth"°"cmdp"c"' t^[b
       the appropriate jijdge at the time and place specified.

Date:
                                                                                               Sifenature of Judicial Officer

                                                                              ALAN J. BAVERMAN . U. S. MAGISTRATE JUDGE
                                                                                        Name and Title of Judicial Officer


                     DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL
